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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                           CASE NO. 1:88-cr-01007-MP-AK

RICHARD KEITH WILLIAMS,

      Defendant.
________________________________/

                                          ORDER

       This matter is before Court on Doc. 1198, Motion for Extension of Time to File

Response, filed by the Government. In the motion, the Government requests an additional thirty

days in which to respond to Defendant Williams’ motion for sentence reduction. The

Government’s motion is granted, and the Government shall file its response on or before

November 30, 2007.


       DONE AND ORDERED this           25th day of October, 2007


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
